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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0433V
                                        UNPUBLISHED


    KATIE M. MILLER,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: November 21, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Diphtheria
                                                            acellular Pertussis (Tdap) Vaccine;
                       Respondent.                          Brachial Neuritis


David John Carney, Green & Schafle LLC, Philadelphia, PA, for petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

                                   RULING ON ENTITLEMENT 1

      On March 22, 2019, Katie Miller filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that that she suffered a left Shoulder Injury Related to
Vaccine Administration, or in the alternative, a “left brachial plexitis,” as a result of a Tdap
vaccination administered on April 25, 2016. Petition at Introduction. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

      On November 20, 2020, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. In the report, Respondent “concluded that petitioner suffered a Table injury

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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under the Vaccine Act” consistent with brachial neuritis, the onset of which occurred within
two to twenty-eight days following her April 25, 2016 Tdap vaccination. 3 Id. at 7-8. With
respect to other statutory and jurisdictional issues, Respondent agrees that the records
show that the case was timely filed, that the vaccine was received in the United States,
and that Petitioner suffered the residual effects or complications of her injury for more
than six months after vaccine administration. Id. at 8.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
    Respondent concludes that Petitioner has not met the Table requirements for SIRVA. ECF 35 at 8 n.7.

                                                     2
